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 5                         UNITED STATES DISTRICT COURT

 6                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

 7                                WESTERN DIVISION

 8   UNITED STATES OF AMERICA,              NO. 2:11-cv-00667-MWF-FFM
 9                     Plaintiff,           CONSENT JUDGMENT OF FORFEITURE
10         v.
11   $593,848.00 IN U.S. CURRENCY;
     AND ONE 2010 HONDA ODYSSEY VAN,
12

13                     Defendants.

14

15        Plaintiff, the United States of America (“the government or

16   Plaintiff”), and claimant Carlos Bailey (“Claimant”) have made a

17   stipulated request for the entry of this Consent Judgment.

18        The Court, having considered the stipulation of the parties,

19   and good cause appearing therefor, HEREBY ORDERS, ADJUDGES AND

20   DECREES:

21        1.    The government has given and published notice of this

22   action as required by law, including Rule G of the Supplemental

23   Rules for Admiralty or Maritime Claims and Asset Forfeiture

24   Actions, Federal Rules of Civil Procedure, and the Local Rules of

25   this Court.    Claimant has filed a claim and an answer.         The

26   government has not received any other claims or answers, and the

27   time for filing claims and answers has expired.          This Court has

28   jurisdiction over the parties and the Defendants $593,848.00 in
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 1   U.S. currency (the “Defendant Currency”) and One 2010 Honda
 2   Odyssey Van (the “Defendant Van,” and collectively with the
 3   Defendant Currency, the “Defendant Assets”). Claimant has agreed
 4   to the forfeiture of $498,848.00 of the Defendant Currency and the
 5   Defendant Van.
 6        2.     Any potential claimants to the Defendant Assets other
 7   than Claimant are deemed to have admitted the allegations of the
 8   complaint.    Nothing in this Consent Judgment is intended or should
 9   be interpreted as an admission of wrongdoing by Claimant, nor
10   should this Consent Judgment be admitted in any criminal
11   proceeding against Claimant to prove any of the facts relied upon
12   to establish reasonable cause for the seizure of the Defendant
13   Assets.

14        3.     $95,000.00 of the Defendant Currency, without interest,

15   shall be released to Claimant through his counsel.

16        4.     If the government elects to make the payment of

17   $95,000.00 by check, the check shall be payable to “Law Offices of

18   Daniel V. Behesnilian Client Trust Account,” and mailed to Claimant

19   in care of his attorney, Mr. Daniel V. Behesnilian at 8484 Wilshire

20   Boulevard, Suite 700, Beverly Hills, CA 90211-3233. If the

21   government elects to make the payment by wire transfer, the funds

22   shall be wire transferred to the Law Offices of Daniel V.

23   Behesnilian Client Trust Account.         Upon request from the

24   government, Claimant through his attorney, shall provide personal

25   identifiers and the necessary bank information to complete the

26   transfer.

27        5.     The Defendant Van and the remaining $498,848.00 of the

28   Defendant Currency, together with all interest earned by the

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 1   government on the total amount of Defendant Currency, is hereby
 2   forfeited to the government, and no other right, title, or
 3   interest shall exist therein.       The government shall dispose of the
 4   forfeited property in accordance with law.
 5        6.    The stipulated stay of this action pursuant to 18 U.S.C.
 6   § 981(g) (Dkt Nos. 14-15) is lifted.
 7        7.    The Court finds that there was reasonable cause for the
 8   seizure of the Defendant Assets and the institution of this
 9   action.   This judgment constitutes a certificate of reasonable
10   cause pursuant to 28 U.S.C. § 2465.
11        8.    Each of the parties shall bear its own fees and costs
12   incurred in connection with this action.
13        IT IS SO ORDERED.

14

15   Dated: October 27, 2021
                                       MICHAEL W. FITZGERALD
16                                     UNITED STATES DISTRICT JUDGE
17
     Prepared by:
18

19   TRACY L. WILKISON
     Acting United States Attorney
20   SCOTT M. GARRINGER
     Assistant United States Attorney
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24     /s/ DAN G. BOYLE
     DAN G. BOYLE
25   Assistant United States Attorney
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27   UNITED STATES OF AMERICA

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